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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LABORERS’ PENSION FUND, and               )
LABORERS’ WELFARE FUND OF THE             )
HEALTH AND WELFARE DEPARTMENT             )
OF THE CONSTRUCTION AND GENERAL           )
LABORERS’ DISTRICT COUNCIL OF             )
CHICAGO AND VICINITY, and LABORERS’       )
DISTRICT COUNCIL RETIREE HEALTH           )
AND WELFARE FUND, and CATHY               )
WENSKUS, as Administrator of the          )
Funds,                                    )
                       Plaintiffs,        )                   Case No.     19-cv-7263
       v.                                 )
                                          )                   Judge
BB CONSTRUCTION ENTERPRISE, INC., an )
Illinois corporation and SANTIAGO RIVOIR, )
individually                              )
                                          )
                           Defendant.     )

                                          COMPLAINT

       Plaintiffs, Laborers’ Pension Fund, Laborers’ Welfare Fund of the Health and Welfare

Department of the Construction and General Laborers’ District Council of Chicago and Vicinity,

the Chicago Laborers’ District Council Retiree Health and Welfare Fund, and Catherine

Wenskus, not individually, but as Administrator of the Funds (hereinafter collectively “Funds”),

by their attorneys, Patrick T. Wallace, Amy N. Carollo, G. Ryan Liska, Katherine C.V.

Mosenson, and Sara Schumann, for their Complaint against Defendants BB Construction

Enterprise, Inc., an Illinois corporation and Santiago Rivoir, individually, state:



                                                 COUNT I

        (Failure To Pay Employee Benefit Contributions to Funds as Revealed by an Audit)
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        1.      Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(1) and

(2) and 1145, Section 301(a) of the Labor Management Relations Act (“LMRA”) of 1947 as

amended, 29 U.S.C. §185(a), 28 U.S.C. §1331, 28 U.S.C. § 1367, and federal common law. The

Court has jurisdiction for any pendent state law contract claims pursuant to 28 U.S.C. §1367(a).

        2.      Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2),

and 28 U.S.C. §1391 (a) and (b).

        3.      The Funds are multiemployer benefit plans within the meanings of Sections 3(3)

and 3(37) of ERISA. 29 U.S.C. §1002(3) and 37(A). They are established and maintained

pursuant to their respective Agreements and Declarations of Trust in accordance with Section

302(c)(5) of the LMRA. 29 U.S.C. § 186(c)(5). The Funds have offices and conduct business

within this District.

        4.      Plaintiff Catherine Wenskus (hereinafter “Wenskus”) is the Administrator of the

Funds, and has been duly authorized by the Funds’ Trustees to act on behalf of the Funds in the

collection of employer contributions owed to the Funds and to the Construction and General

District Council of Chicago and Vicinity Training Fund, and with respect to the collection by the

Funds of amounts which have been or are required to be withheld from the wages of employees

in payment of Union dues for transmittal to the Construction and General Laborers’ District

Council of Chicago and Vicinity (the “Union”). With respect to such matters, Wenskus is a

fiduciary of the Funds within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C.

§1002(21)(A).

        5.      Defendant BB Construction Enterprise, Inc. (hereinafter the “Company”), is an

Illinois corporation. The Company does business within this District and was at all times
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relevant herein an employer within the meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5),

and Section 301(a) of the LMRA, 29 U.S.C. §185(c).

       6.      Defendant Santiago Rivoir ("Rivoir") is an individual who is the Owner of the

Company and resides in and operates his Company in the District.

       7.      The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The

Union and the Company are parties to collective bargaining agreements, the most recent of

which became effective June 1, 2017. (“Agreement”). (A copy of the “short form” Agreement

entered into between the Union and the Company which adopts and incorporates Master

Agreements between the Union and various employer associations, and also binds the Company

to the Funds’ respective Agreements and Declarations of Trust and the Agreements and

Declarations of Trusts of the various Funds listed in paragraph 8 below, is attached hereto as

Exhibit A.)

       8.      The Funds have been duly authorized by the Construction and General Laborers’

District Council of Chicago and Vicinity Training Fund (the “Training Fund”), the Midwest

Construction Industry Advancement Fund (“MCIAF”), the Mid-American Regional Bargaining

Association Industry Advancement Fund (“MARBA”), the Chicagoland Construction Safety

Council (the “Safety Fund”), the Laborers’ Employers’ Cooperation and Education Trust

(“LECET”), the Concrete Contractors Association (“CCA”), the CDCNI/CAWCC Contractors’

Industry Advancement Fund (the “Wall & Ceiling Fund”), the CISCO Uniform Drug/Alcohol

Abuse Program (“CISCO”), the Laborers’ District Council Labor Management Committee

Cooperative (“LDCLMCC”), the Will Grundy Industry Trust Advancement Fund (“WGITA”),

the Illinois Environmental Contractors Association Industry Education Fund (“IECA Fund”), the

Illinois Small Pavers Association Fund (“ISPA”), and the Chicago Area Independent
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Construction Association (“CAICA”) to act as an agent in the collection of contributions due to

those Funds.

        9.      The Agreement and the Funds’ respective Agreements and Declarations of Trust

obligate the Company to make contributions on behalf of its employees covered by the

Agreement for pension benefits, health and welfare benefits, retiree health and welfare benefits,

and benefits for the training fund, and to submit monthly remittance reports in which the

Company, inter alia, identifies the employees covered under the Agreement and the amount of

contributions to be remitted to the Funds on behalf of each covered employee. Pursuant to the

terms of the Agreement and the Funds’ respective Agreements and Declarations of Trust,

contributions which are not submitted in a timely fashion are assessed liquidated damages plus

interest.

        10.     The Agreement and the Funds’ respective Agreements and Declarations of Trust

require the Company to submit its books and records to the Funds on demand for an audit to

determine benefit contribution compliance. In accordance with this obligation, the Company

submitted its books and records for a fringe benefit and dues compliance audit for the period

August 23, 2018 to March 31, 2019.

        11.     Prior to the audit being completed the Company entered into an Installment Note

(“Note”) with the Funds on or about May 23, 2019. The Note covered past due fringe benefit

and dues contributions owed by the Company for October 2018 through March 2019. The Note

amount was based upon fringe benefit hours reported by the Company. A true and accurate copy

of the Note is attached hereto as Exhibit B.

        12.    Simultaneously with the execution of the Note, Defendant Rivoir signed a

Guaranty of Payment and Indemnification (“Guaranty”) on or about May 23, 2019, individually
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guaranteeing payment of the amounts due under the Note to the Funds. A true and accurate copy

of the Guaranty is attached hereto as Exhibit C. Paragraph 1 of the Guaranty provides in relevant

part:

         The Guarantor also agrees to be personally liable for all monthly benefit contributions
         and/or union dues owed from the Company to the Funds, the District Council and all
         ancillary funds that are due at the time the Note and Guaranty are entered into and/or are
         incurred and become due and owing for the duration of the Note, including all interest,
         liquidated damages, audit costs, attorneys’ fees and costs.

         13.     Notwithstanding the obligations imposed by the Agreement and the Funds’

respective Agreements and Declarations of Trust, the Note and the Guaranty, the Company

performed covered work during the audit period of August 23, 2018 through March 31, 2019 but

failed to pay the Funds all required contributions. According to the Funds’ Audit the Company:

         (a)     failed to report and pay contributions in the amount of $301.68 owed to Funds

for the audit period August 23, 2018 through March 31, 2019, thereby depriving the Laborers’

Pension Fund of contributions, income and information needed to administer the Fund and

jeopardizing the pension benefits of the participants and beneficiaries;

         (b)     failed to report and pay contributions in the amount of $243.60 owed to Funds of

the Health and Welfare Department of the Construction and General Laborers’ District Council

of Chicago and Vicinity for the audit period of August 23, 2018 through March 31, 2019,

thereby depriving the Welfare Fund of contributions, income and information needed to

administer the Fund and jeopardizing the health and welfare benefits of the participants and

beneficiaries;

         (c)     failed to report and pay contributions in the amount of $114.00 owed to Laborers’

District Council Retiree Health and Welfare Fund of the Construction and General Laborers’

District Council of Chicago and Vicinity for the audit period of August 23, 2018 through March
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31, 2019, thereby depriving the Welfare Fund of contributions, income and information needed

to administer the Fund and jeopardizing the health and welfare benefits of the participants and

beneficiaries;

       (d)       failed to report and pay contributions in the amount of $17.28 owed Laborers’

Training Fund for the audit period of August 23, 2018 through March 31, 2019, thereby

depriving the Laborers’ Training Fund of contributions, income and information needed to

administer the Fund and jeopardizing the training fund benefits of the participants and

beneficiaries;

       (e)       failed to report and pay contributions in the amount of $4.08 owed to Laborers’

District Council Labor Management Committee Cooperative (“LMCC”) for the audit period of

August 23, 2018 through March 31, 2019, thereby depriving the LMCC of contributions, income

and information needed to administer the Fund and jeopardizing the benefits of the participants

and beneficiaries;

       (f)       failed to report and pay contributions in the amount of $2.88 owed to Illinois

Environmental Contractors Association Industry Education Fund (“IECA”) for the audit period

of August 23, 2018 through March 31, 2019, thereby depriving the IECA of contributions,

income and information needed to administer the Fund and jeopardizing the benefits of the

participants and beneficiaries; and

       (g)       failed to report and pay contributions in the amount of $1.68 owed to Laborers’

Employers’ Cooperation and Education Trust (“LECET”) for the audit period of August 23,

2018 through March 31, 2019, thereby depriving the LECET of contributions, income and

information needed to administer the Fund and jeopardizing the benefits of the participants and

beneficiaries.
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       14.      A true and accurate copy of the Funds’ Audit for the period August 23, 2018

through March 31, 2019 is attached as Exhibit D.

       15.      By virtue of the Exhibit C Guaranty, Rivoir is personally liable for all audit

findings including liquidated damages, interest, audit costs and attorney fees.

       16.      The Company and Rivoir’s failure to submit payment upon an audit to which it

submitted its books and records violate Section 515 of ERISA, 29 U.S.C. §1145.

       17.      Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of

the LMRA, 29 U.S.C. §185, federal common law, and the terms of the Agreement and the

Funds’ respective Trust Agreements, the Note and Guaranty, the Company and Rivoir are liable

to the Funds for unpaid contributions, as well as interest and liquidated damages on the unpaid

contributions, accumulative liquidated damages on the late paid contributions, audit costs,

reasonable attorneys’ fees and court costs, and such other legal and equitable relief as the Court

deems appropriate.

       WHEREFORE, Plaintiff Funds respectfully request that this Court:

       a.       enter judgment in sum certain in favor of the Funds and against Defendants BB

Construction Enterprise, Inc., and Santiago Rivoir, jointly and severally, on the amounts due and

owing pursuant to the audit for the period of August 23, 2018 through March 31, 2019 plus

interest, liquidated damages, audit costs, and Plaintiffs’ reasonable attorneys’ fees and costs; and

       b.       awarding Funds' any further legal and equitable relief as the Court deems

appropriate.

                                                COUNT II

               (Failure to Pay Union Dues Revealed as Delinquent Pursuant to an Audit)
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          18.   The Funds re-allege paragraphs 1 through 15 of Count I as though fully set forth

herein.

          19.    Pursuant to agreement, the Funds have been duly designated to serve as collection

agents for the Union in that the Funds have been given the authority to collect from employers

union dues which have been or should have been deducted from the wages of covered

employees.

          20.   Notwithstanding the obligations imposed by the Agreement, the audit revealed the

Company performed covered work during the audit period of August 23, 2018 through March

31, 2019, and failed to withhold and/or submit payment of $39.35 in union dues that were or

should have been withheld from the wages of employees during that period of time thereby

depriving the Union of information and income.

          21.   Pursuant to the Agreement, the Funds’ respective Trust Agreements, the Note and

Guaranty, the Company and Rivoir owe the due contribution findings contained in the audit,

liquidated damages on all paid late or unpaid dues as revealed by the audit for the period of

August 23, 2018 through March 31, 2019, plus audit costs, and reasonable attorneys’ fees and

costs as the Union’s collection agent, and such other legal and equitable relief as the Court

deems appropriate.

          WHEREFORE, Plaintiff Funds respectfully request this Court enter a judgment in favor

of Plaintiff Funds and against Defendant BB Construction Enterprise, Inc., and Santiago Rivoir,

jointly and severally, on the amounts due and owing pursuant to the audit for the period of

August 23, 2018 through March 31, 2019, including dues, liquidated damages, audit costs, and

Funds reasonable attorneys’ fees and costs; and
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       b.      awarding Plaintiff Funds any further legal and equitable relief as the Court deems

appropriate.



                                             COUNT III

                                     (Default on Installment Note)

       22.     The Funds incorporate and re-allege the allegations contained in Paragraphs 1

through 21 of this Complaint.

       23.     The Company and Rivoir agreed to pay a total of $38,966.86 which included

twelve percent (12%) interest over the course of twelve (12) months in settlement of delinquent

fringe benefit and dues contributions owed to the Funds. Commencing on July 1, 2019 and

ending on June 1, 2020, the Exhibit B Note required the Company to remit monthly payments of

$2,519.94 to the Funds. (See Exhibit B, ¶ 4).

       24.     On October 17, 2019, the Funds provided written notice of default to the

Company and Rivoir which advised the Company and Rivoir they failed to remit the September

2019 and October 2019 Note payments and requested the default be cured by October 31, 2019.

(A true and accurate copy of the notice of default is attached as Exhibit E). The Company and

Rivoir failed to cure the default.

       25.     The Note provides that in the event the Company fails to cure the default within

ten (10) days of the written notice of default all unpaid Note amounts shall immediately become

due and payable and the Company further agrees to pay all attorneys' fees incurred by the Funds

in any action to enforce the terms of the Note. (See Exhibit B, ¶ 5).

       26.     In addition, Rivior is personally liable for all amounts due on the Note as a result

of executing the Exhibit C Guaranty.
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       27.     The Company and Rivoir's failure to remit the agreed upon Note payments

deprived the Funds of contributions, income and information needed to administer the Fund and

jeopardizing the training fund benefits of the participants and beneficiaries and resulted in

damage to the Funds.

       28.     Allowing for all just due credits, the accelerated Note balance immediately due is

$25,199.40. A copy of the Summary of Note Payment Ledger is attached as Exhibit F.

       WHEREFORE, Plaintiff Funds respectfully request that this Court:

       a.      enter judgment in sum certain in favor of the Funds and against Defendants BB

Construction Enterprise, Inc., and Santiago Rivoir, jointly and severally in the amount of

$25,199.40 plus Plaintiffs’ reasonable attorneys’ fees and costs; and

       b.      awarding Funds' any further legal and equitable relief as the Court deems

appropriate.


November 4, 2019                                            Laborers’ Pension Fund, et al.

                                                            By: /s/ G. Ryan Liska



G. Ryan Liska
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